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                IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF TENNESSEE
                             EASTERN DIVISION
 _____________________________________________________________________________

 UNITED STATES OF AMERICA,             *
                                       *
 Plaintiff,                            *            No. 17-cr-10082-STA
                                       *
 v.                                    *
                                       *
 ERIC DEWAUN MARTIN,                   *
                                       *
 Defendant.                            *
                                       *
                                       *

       ORDER SETTING CHANGE OF PLEA HEARING AND NOTICE OF
                             SETTING



      IT APPEARING TO THIS COURT upon the filed motion of the Defendant, for
      good cause shown, that this motion is well taken and is therefore, GRANTED.

      A Change of Plea Hearing hereby is set for Tuesday, June 26th, 2018 at 9:30
      A.M.

      It is so ORDERED, this the 4th day of June, 2018.

                                 s/ S. THOMAS ANDERSON
                                 CHIEF U.S. DISTRICT COURT JUDGE
